                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF ALASKA



TRAVELERS CASUALTY AND SURETY      )
COMPANY OF AMERICA,                )
                                   )
                       Plaintiff, )
                                   )
     vs.                           )
                                   )
DATUM CONSTRUCTION MANAGEMENT,     )
INC., et al.,                      )
                                   )             No. 3:12-cv-0082-HRH
                      Defendants. )
___________________________________)



                                  O R D E R
                               Case Dismissed

     This court, having reviewed the parties’ stipulated motion for

judgment of dismissal,1

     It is hereby ordered and adjudged that all claims between

plaintiff Travelers Casualty and Surety Company of America and

defendants are dismissed with prejudice, all parties to bear their
own costs and attorney fees.       Pending motions, if any, are denied.

     DATED at Anchorage, Alaska, this 27th day of February, 2013.


                                          s/ H. Russel Holland
                                          United States District Judge




     1
      Docket No. 43.

Order – Case Dismissed                                                   - 1 -


         Case 3:12-cv-00082-HRH Document 44 Filed 02/27/13 Page 1 of 1
